               Case 5:18-cv-04914-NC Document 295 Filed 03/03/21 Page 1 of 2

                                                                                              Mar 03 2021



 1
                                  UNITED STATES DISTRICT COURT
 2                              NORTHERN DISTRICT OF CALIFORNIA

 3                                          SAN JOSE DIVISION

 4   J.L. et al., on behalf of themselves and all )    CASE NO. 5:18-CV-4914 NC (DMR)
     others similarly situated,                   )
 5                                                )    ORDER APPROVING DEFENDANTS’
                                 Plaintiffs,      )    CERTIFICATION OF FULL ADJUDICATION
 6                                                )    OF THE CLASS MEMBERS’ PETITIONS IN
         v.                                       )    COMPLIANCE WITH THE SETTLEMENT
 7                                                )    AGREEMENT
     TRACY L. RENAUD, Senior Official             )
 8                                                )
     Performing the Duties of the Director,            The Honorable Nathanael M. Cousins
                                                  )
 9   United States Citizenship and Immigration )
     Services, ALEJANDRO N. MAYORKAS, )
10   Secretary, Department of Homeland            )
     Security, et al.,                            )
11                                                )
                                 Defendants.      )
12                                                )
                                                  )
13
            Before the Court is Defendants’ “Notice of” and “Certification” of full adjudication of
14
     the Class Members’ petitions in compliance with the Settlement Agreement and request for order
15
     approving Certification.
16
            On December 18, 2019, the Court granted final approval of the Settlement Agreement
17
     (ECF No. 211-2) and dismissed the case with prejudice. ECF No. 229, Judgment at 1. It retained
18
     “jurisdiction over the Settlement Agreement for the purpose of enforcing any of its provisions
19
     and terms.” Id. The Court specified that its “jurisdiction over the Settlement Agreement will
20
     terminate one year after further Court order approving Defendants’ certification that they have
21
     fully adjudicated the Class Members’ petitions in compliance with Sections III and V of the
22
     Agreement.” Id.
23
            Also on December 18, 2020, the Court ordered that the “Court’s October 24, 2018,
24
     preliminary injunction order (see Dkt. No. 49) shall terminate upon entry of judgment.” ECF No.
25
     228 at 7. But the Court ordered that it retained jurisdiction to address violations of the
26
     Preliminary Injunction (“PI”) order and to adjudicate the December 16, 2019 Order to Show
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                                                       1
     ORDER                                                                         5:18-cv-4914 NC (DMR)
               Case 5:18-cv-04914-NC Document 295 Filed 03/03/21 Page 2 of 2




 1 Cause “for: (1) one year following entry of judgment or (2) until such time that all removed

 2 Class Members have confirmed that they do not wish to be returned to the United States or are

 3 returned to the United States if so requested, whichever is later.” See id.; ECF No. 229 at 1.

 4           Having read and considered the papers filed in connection with this matter, the Court

 5 hereby GRANTS Defendants’ request and APPROVES Defendants’ Certification of full

 6 adjudication of the Class Members’ petitions in compliance with Sections III and V of the

 7 Settlement Agreement.

 8           The Court finds that Defendants have demonstrated that they have fully adjudicated the

 9 Class Members’ petitions in compliance with Sections III and V of the Settlement Agreement.

10           The Court further finds that, as of June 18, 2020, Defendants had returned N.P.G.,

11 R.M.N., E.S.L.D.A, and M.W.D.C to the United States, and had confirmed that E.A. did not

12 wish to be returned to the United States. Therefore, the Court’s jurisdiction to address violations

13 of the Preliminary Injunction (“PI”) order and to adjudicate the December 16, 2019 Order to

14 Show Cause terminated on June 18, 2020.

15           ACCORDINGLY, the Court hereby ORDERS that its jurisdiction over the Settlement

16 Agreement shall terminate automatically one year from the date of this order.

17           The telephonic status hearing set for March 10, 2021, at 2:00 p.m. is VACATED.

18 IT IS SO ORDERED.                                               S DISTRICT
                                                                ATE           C
19 Dated: March 3, 2021                                        T
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20                                                         NATHANAEL       DERED
                                                                          RCOUSINS
                                                         UNIT




                                                           United
                                                                T I S SO OMagistrate
                                                                   States            Judge
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                                                                                                  s
                                                                                      M. Cousin
                                                         NO




22                                                                          thanael
                                                                   Judge Na
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     ORDER                                                                                 5:18-cv-4914 NC (DMR)
